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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                               )
JOSEPH BELSKIS,                                )       Docket No. 1:15-cv-00091-JAW
                       Plaintiff               )
                                               )
v.                                             )
                                               )
STATE OF MAINE BOARD OF                        )
CORRECTIONS, THE COUNTY OF                     )
SOMERSET, MAINE MED PRO                        )
ASSOCIATES, TERI THURLOW,                      )
THE UNITED STATES MARSHAL                      )
SERVICE, ET AL,                                )
                 Defendants                    )
                                               )


                                   STIPULATION OF DISMISSAL


       NOW COME the parties, through counsel, and stipulate that all remaining claims against

Somerset County, Barry Delong, Stephen Giggey, David Allen, Eligah Munn, Cory Swope, and

Dale Lancaster and DT Developers, Inc., d/b/a Maine MedPro Associates. may be dismissed with

prejudice, and without costs, interest or fees to any party.

Dated: February 21, 2018                                /s/ Jon Haddow
                                                       Jon Haddow, Esq.
                                                       Attorney for Plaintiff


Dated: February 21, 2018                                /s/ Michael Saucier
                                                       Michael Saucier, Esq.
                                                       Attorney for DT Developers, Inc., d/b/a
                                                       MedPro Defendants


Dated: February 21, 2018                                /s/ Peter T. Marchesi
                                                       Peter T. Marchesi, Esq.
                                                       Attorney for Somerset County Defendants
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                           UNITED STATES DISTRICT COURT
                                          District of Maine

 JOSEPH BELSKIS,                                              )
                                                              )
                        Plaintiff                             )   Docket No. 1:15-cv-00091-JAW
 v.                                                           )
                                                              )
 STATE OF MAINE BOARD OF CORRECTIONS,                         )
 THE COUNTY OF SOMERSET, MAINE MED PRO                        )
 ASSOCIATES, TERI THURLOW, THE UNITED                         )
 STATES MARSHAL SERVICE, ET AL,                               )
                         Defendants                           )
                                                              )


                                CERTIFICATE OF SERVICE
        I, Peter T. Marchesi, Esq., attorney for the Somerset County Defendants, hereby certify
that:
        !      Stipulation of Dismissal
has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:
               Jon Haddow, Esq.                jah@frrlegal.com
               Michael Saucier, Esq.           msaucier@lokllc.com
       Copies of the above documents have been provided to the Plaintiff via United States Mail,
postage prepaid, at the following address:
               None


Dated: February 21, 2018                               /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Wheeler & Arey, P.A.
                                                      Attorney for Somerset County Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
